                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                             SOUTHWESTERN DIVISION

JODELLE L. KIRK                           )
                                          )
                      Plaintiff,          )
                                          )
v.                                        )     Case No: 3:13-cv-05032-DGK
                                          )
SCHAEFFLER GROUP USA, INC., et al.,       )
                                          )
                      Defendants.         )

             DEFENDANTS’ PROPOSED JURY INSTRUCTIONS (ORIGINAL)




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                                          INSTRUCTION NO.___

           I have decided to accept as proved the following facts: 1

           1.     Plaintiff Jodelle L. Kirk is a resident and citizen of the State of Missouri

           2.     Plaintiff was born on October 4, 1988.

           3.     Plaintiff resides at 3130 Woodland Drive, Silver Creek, Newton County, Missouri

64804; this same home previously was known as 513 Woodland Drive before addresses in the

neighborhood were renumbered.

           4.     Since 1987, Ms. Kirk’s mother, Janice Kirk resided in at 3130 Woodland Drive

formerly known as 513 Woodland Drive, Joplin, Newton County, Missouri, 64804 including

throughout her pregnancy with Ms. Kirk.

           5.     FAG Bearings, LLC, is the same entity as FAG Bearings Corporation.

           6.     FAG Bearings Corporation operated a manufacturing plant at 3900 Rangeline

Road, Joplin, Missouri, until at least June 6, 2005.*

           7.     Trichloroethylene (“TCE”) is a man-made volatile organic compound used as a

solvent, often for removing grease from metal parts.

           8.     TCE has a density that is greater than water, a high vapor pressure, a low affinity

for soil particles, low solubility in water, and naturally degrades at a slow rate.

           9.     FAG Bearings used a TCE vapor degreasing system in its manufacturing process

until 1983, using TCE as a solvent for removing grease from metal parts.

           10.    In April, May, and December 1991, the Missouri Department of Health

(“MDOH”) and the United States Environmental Protection Agency (“EPA”) discovered TCE

contamination in certain residential wells of Saginaw and Silver Creek Villages.

1
 Except where expressly indicated, all of these facts were stipulated to by the parties in Doc. 389. All other facts
were found by the Court in its Findings of Findings of “Undisputed Material Facts” in its January 1, 2016 Order
Granting in Part Motion for Summary Judgment (Doc. 333 at 4-7.). Those facts are indicated with an asterisk (*).


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           11.   In August 1991, the EPA implemented a emergency removal action and provided

bottled drinking water to Silver Creek homes where TCE concentrations above the EPA’s

Maximum Contaminant Level (“MCL”) had been detected.

           12.   Plaintiff’s family received documents regarding the TCE contamination in Silver

Creek and Saginaw, including a variety of fact sheets, letters, notices, and other information

regarding the TCE contamination and subsequent remediation efforts.*

           13.   In or about November 1991, Plaintiff’s family received a fact sheet from the

MDOH regarding the laboratory test results for TCE in water samples and potential health risks

from exposure to TCE.*

           14.   Between November 13 and 15, 1991, the MDOH conducted laboratory testing of

the water supply at Plaintiff’s home and provided the results to her family.        This testing

purportedly showed there was less than one microgram per liter of TCE in the sample, a health

risk the MDOH described as “so small as to be virtually non-existent.”*

           15.   Between November 1991 and March 1992, Plaintiff’s family received several

letters, information sheets, agreements, contracts, and bills from the Village of Silver Creek

regarding the construction and implementation of the public water system, meetings to discuss

the TCE contamination, legal representation to “pursue FAG’s liability and obtain public water,”

and the results of well water testing.*

           16.   The EPA provided Plaintiff’s parents with a December 1991 letter and January

1992 fact sheet regarding the extent of TCE contamination.*

           17.   The December 1991 letter from the EPA provided notice of a public meeting on

January 6, 1992 “to answer any questions or concerns you may have about this site.” *




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           18.   The January 1992 EPA fact sheet discussed EPA measures to limit potential risks

to residents and an upcoming EPA-led public meeting.*

           19.   Pam Stanley, a Silver Creek resident, testified that she attended meetings to

discuss the TCE contamination, and that Plaintiff’s parents also attended those meetings.*

           20.   On or about February 6, 1992, Plaintiff’s family received letters from the EPA

sharing the results of a water sample taken from their residence.*

           21.   Silver Creek began installing a public water system in 1992

           22.   Saginaw began installing a public water system in 1994.

           23.   The February 6, 1992 letters from the EPA stated that no TCE was detected in

Kirk family’s water supply.

           24.   In a mailing postmarked March 26, 1992, Plaintiff’s father received a March 23,

1992, fact sheet from the Missouri Department of Natural Resource (“MDNR”) describing the

history and extent of the TCE contamination in Silver Creek; various EPA, MDNR, and MDOH

public meetings in 1991 and 1992 to address the contamination; and “a chronology of significant

site events.”*

           25.   Plaintiff’s family also received a September 1993 EPA fact sheet regarding trust

funds available to “allow [the community] to hire an independent expert to help them interpret

technical data, understand site hazards, and become more knowledgeable about the different

technologies that are being used to clean up sites.”*

           26.   In 2002, Ms. Kirk was diagnosed with Autoimmune Hepatitis, type 1, which

requires medical attention and medication to control.

           27.   Plaintiff has never sought treatment from any psychiatrists or psychologists.*




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           28.   None of Plaintiff’s treating physicians have diagnosed her with any mental or

emotional condition such as an anxiety disorder or depression.*

           29.   None of Plaintiff’s treating physicians attributed any of her anxiety to her

purported exposure to TCE.*

           30.   From approximately 1973 to 1982, FAG Bearings Corporation produced ball

bearings using TCE as a commercial degreaser and parts cleaner.

           31.   In 1991, the Missouri Department of Health (MDOH) discovered the TCE

contamination in certain residential wells in the village of Silver Creek.

           32.   FAG Bearings was the sole cause of the TCE contamination found in Silver Creek

and Saginaw.

           33.   FAG Bearings released TCE into the environment in a number of different ways.

           34.   FAG Bearings released approximately 12,000 to 25,000 gallons of TCE through

waste, spills, leaks, overflowing tanks, incidental use of TCE, and dumping of “still bottoms”

into the ground at FAG Bearings’ facility.

           35.   During investigations at FAG Bearings’ facility from 1991 to 1996, TCE or TCE-

related chemicals were detected in at least 36 different locations across the FAG Bearings’

facility.

           36.   FAG Bearings’ employees occasionally dumped or pumped TCE directly into the

ground. The highest levels of TCE contamination were found at or near these locations.

           37.   The “trail,” or plume, of contamination runs directly from these locations to

residential wells located south of FAG Bearings’ property.

           38.   FAG Bearings was “100%” responsible for the TCE contamination in Silver

Creek, Saginaw, and on FAG Bearings’ property.




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           39.   FAG Bearings could not account for approximately 30,000 gallons of TCE it

purchased.

           40.   FAG Bearings’ vapor recovery system frequently and repeatedly malfunctioned,

releasing large amounts of TCE into the air over a long period of time.

           41.   FAG Bearings’ own experts and employees have opined that these vapors then

condensed and returned to the soil on FAG Bearings’ property.

           42.   [To be read only if punitives are not bifurcated] The releases of TCE on FAG

Bearings’ property were predictable and foreseeable.

           43.   [To be read only if punitives are not bifurcated] FAG Bearings knew that the

vapor recovery system malfunctioned and allowed TCE to escape regularly and repeatedly.

           44.   [To be read only if punitives are not bifurcated] As of September 30, 1998, FAG

Bearings totally refused to cooperate in investigation and remediation of the TCE contamination.

           45.   Plaintiff has alleged that she was exposed to TCE at the following specific

locations in Silver Creek or Saginaw:

                    a. Her childhood residence at 3130 (formerly 513) Woodland Drive;
                    b. The Banfield residence at 3314 Silver Creek Drive;
                    c. The Parrish residence at 3428 Woodland Drive, including a portion of
                       Thurman Creek that runs through the backyard of this residence;
                    d. The Robertson residence at 4409 Malaura Lane;
                    e. The Strella residence at 3112 Woodland Drive;
                    f. The Johnson residence at 4509 Bradley Street;
                    g. The Bickett residence at 3808 Duquesne Street, including a pond of water
                       west of the Bickett residence;
                    h. The Switzer residence at 3914 Duquesne Street;
                    i. The Horine residence at 3275 Ivy Lane;
                    j. The Sutton residence at 3611 Silver Creek Drive;
                    k. The Garwood residence at 3101 Silver Creek Drive;
                    l. The Johnson residence at 3014 Silver Creek Drive;
                    m. The Vincent residence at 4415 Hickory Lane;
                    n. The Simpson residence at 4508 Middleton;


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                    o. Saginaw Baptist Church, at 406 Bartlett Avenue;
                    p. Christ’s Community Methodist Church, at 2700 E. 44th Street;
                    q. Shoal Creek near the Tipton Ford access point;
                    r. Waters Edge Camping and Kayaking, at 6614 Old Highway71;
                    s. Thompson Orchard and Berry Farm, Bees and Berries, at 707 Saginaw
                       Road; and
                    t. The fields near Duquesne Road.

           46.   Plaintiff’s residence was connected to the city water supply in 1992.

           47.   The groundwater at Plaintiff’s residence was tested for TCE on January 3, 1992,

and on June 1, 1995. In both cases, no TCE was detected at a level above the laboratory

detection limit of 1 microgram per liter (µg/L).

           48.   The groundwater at the Banfield Residence was tested for TCE on January 4,

1992, and TCE was detected at a level of 1.8 µg/L at that time.

           49.   The groundwater at the Parrish residence located at 3428 Woodland Drive was

tested for TCE on five occasions. On December 17, 1991, TCE was detected at a level of 21

µg/L. On January 1, 1992, TCE was detected at a level of 26 µg/L. On May 20, 1993, TCE was

detected at a level of 18 µg/L. On May 23, 1995, two water samples were tested, and TCE was

detected at levels of 24 µg/L and 21.9 µg/L.

           50.   The groundwater at the Robertson residence at 4409 Malaura Lane was tested for

TCE on December 27, 1991, and at that time, no TCE was detected at a level above the

laboratory detection limit of 1 µg/L.

           51.   The groundwater at the Strella Residence was tested for TCE on January 3, 1992,

and at that time, no TCE was detected at a level above the laboratory detection limit of 1 µg/L.

           52.   The groundwater at 4509 Bradley Street was tested for TCE on three occasions.

On November 5, 1991, no TCE was detected at a level above the laboratory detection limit of 1




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µg/L. On January 2, 1992, TCE was detected at a level of 1 µg/L. On June 4, 1995, no TCE was

detected at a level above the laboratory detection limit of 1 µg/L.

           53.   The groundwater at the Switzer Residence was tested for TCE on two occasions,

on January 3, 1992, and on June 3, 1995. In both cases, no TCE was detected at a level above

the laboratory detection limit of 1 µg/L.

           54.   The groundwater at the Sutton Residence was tested for TCE on January 14, 1992,

and at that time, no TCE was detected at a level above the laboratory detection limit of 1 µg/L.

           55.   The groundwater at 3101 Silver Creek Drive was tested for TCE on two occasions,

on January 4, 1992 and on May 31, 1995. In both cases, no TCE was detected at a level above

the laboratory detection limit of 1 µg/L.

           56.   The groundwater at 3014 Silver Creek Drive was tested for TCE on two occasions,

on October 10, 1991 and on January 4, 1992. In both cases, no TCE was detected at a level

above the laboratory detection limit.

           57.   The groundwater at 4415 Hickory Lane was tested for TCE on two occasions, on

November 12, 1991, and December 20, 1991. In both cases, no TCE was detected at a level

above the laboratory detection limit of 1 µg/L.

           58.   The groundwater at 4508 Middleton was tested for TCE on January 3, 1992, and

at that time, no TCE was detected at a level above the laboratory detection limit of 1 µg/L.

           59.   The groundwater at Saginaw Baptist Church was tested for TCE on four

occasions. On January 15, 1992, TCE was detected at a level of 3.8 µg/L. On February 25, 1993,

TCE was detected at a level of 6.3 µg/L. On June 2, 1995, two water samples were tested, and

TCE was detected at levels of 4.2 µg/L and 3.8 µg/L.




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           60.    [To be read only if punitives are not bifurcated] Defendant Schaeffler Group USA,

Inc. is the successor to FAG Bearings Corporation.

           You must accept these facts as proved.




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                                      INSTRUCTION NO.___

           In this case, Defendants are corporations. The mere fact that Defendants are corporations

does not mean they are entitled to any lesser consideration by you. All litigants are equal before

the law, and corporations, big or small, are entitled to the same fair consideration as you would

give any other individual party.




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                                       INSTRUCTION NO.___

           On Plaintiff’s claim of personal injury based on negligence, your verdict must be for

Plaintiff if you believe:

           First, FAG Bearings was negligent (as submitted in Instruction Number ____) in its

handling, use, or disposal of TCE at the Joplin plant; and

           Second, Plaintiff’s injuries and damages were directly caused by such negligence, which,

in turn, requires proof that:

           a.     Plaintiff was exposed to TCE in an amount significant enough to cause her

                  disease, AIH;

           b.     There is a demonstrable relationship between TCE exposure and human AIH (i.e.,

                  exposure to TCE can cause AIH in humans);

           c.     Plaintiff has been diagnosed with AIH;

           d.     Plaintiff’s AIH is consistent with exposure to TCE; and

           e.     FAG Bearings was responsible for the substance alleged to have caused the AIH

                  diagnosed in Plaintiff.




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                                     INSTRUCTION NO.___

           Your verdict on Plaintiff’s negligence claim must be for Defendants unless you believe

FAG Bearings was negligent, as submitted in Instruction Number _____, above.

           Your verdict must also be for Defendants unless you believe that, as a result of such

negligence, Plaintiff’s injuries and damages were caused by FAG Bearings, as submitted in

Instruction Number _______, above.




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                                        INSTRUCTION NO.___

           On Plaintiff’s claim of personal injury based on negligence per se, your verdict must be

for Plaintiff if you believe:

           First, FAG Bearings violated:

           a.     The Clean Water Act, 33 U.S.C. § 1251 ([insert provision]), by [describe

                  requirements to establish violation of specific provision]; or

           b.     The Resource Conservation and Recovery Act, 42 U.S.C. § 6901 (([insert

                  provision]), by [describe requirements to establish violation of specific provision];

                  or

           c.     The Comprehensive Environmental Response Compensation and Liability Act, 42

                  U.S.C. § 9601 ([insert provision]), by [describe requirements to establish violation

                  of specific provision]; or

           d.     The Missouri Hazardous Waste Management Law, Mo. Rev. State. § 260.350

                  ([insert provision]), by [describe requirements to establish violation of specific

                  provision].

           Second, the violation of the statute(s) directly caused Plaintiff Jodelle L. Kirk’s injuries

and damages, which, in turn, requires proof that:

           a.     Plaintiff was exposed to TCE in an amount significant enough to cause her

                  disease, AIH;

           b.     There is a demonstrable relationship between TCE exposure and human AIH (i.e.,

                  exposure to TCE can cause AIH in humans);

           c.     Plaintiff has been diagnosed with AIH;

           d.     Plaintiff’s AIH is consistent with exposure to TCE; and




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           e.   FAG Bearings was responsible for the substance alleged to have caused the AIH

                diagnosed in Plaintiff.




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                                    INSTRUCTION NO.___

           Your verdict must be for Defendants unless you believe FAG Bearings violated one of

the listed legal requirements and that the violation caused her injury, as submitted in Instruction

Number _____, above.




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                                    INSTRUCTION NO.___

           If you find in favor of Plaintiff on Plaintiff’s claims of personal injury based on

negligence or negligence per se, then you must award Plaintiff such sum as you believe will

fairly and just compensate Plaintiff for any damages you believe she sustained and is reasonably

certain to sustain the future as a direct result of the occurrence mentioned in the evidence




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                                      INSTRUCTION NO.___

           Your verdict must be for Defendants unless you believe Plaintiff sustained damage.




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                                       INSTRUCTION NO.___

           [Only if instructing jury on punitive damages].

           If you believe the conduct of FAG Bearings showed complete indifference to or

conscious disregard for the safety of others, then in addition to any damages to which you may

find Plaintiff entitled under Instruction Number ____ you may award Plaintiff an additional

amount as punitive damages in such sum as you believe will serve to punish FAG Bearings and

to deter FAG Bearings and others from like conduct. While it has already been decided that

FAG Bearings acted “deliberately” in causing the contamination in the sense that its releases of

TCE were “predictable and foreseeable,” thus “expected” and “not accidental,” that does not

mean that FAG Bearings showed completed indifference to or conscious disregard for the safety

of others. Instead, that is a question that you must decide based on the evidence presented to you

in this case.




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                                       INSTRUCTION NO.___

           [Only if instructing jury on punitive damages].

           You must not award Plaintiff an additional amount as punitive damages under Instruction

Number ____ unless you believe FAG Bearings showed complete indifference to or conscious

disregard for the safety of others.




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                              SOUTHWESTERN DIVISION

JODELLE L. KIRK                                  )
                                                 )
                      Plaintiff,                 )
                                                 )
v.                                               )       Case No: 3:13-cv-05032-DGK
                                                 )
SCHAEFFLER GROUP USA, INC., et al.,              )
                                                 )
                      Defendants.                )

                      DEFENDANTS’ PROPOSED VERDICT FORM



1. Has Plaintiff Jodelle L. Kirk proven by a preponderance of the evidence that FAG Bearings

was negligent (meaning that it failed to use the degree of care that an ordinarily careful company

would use under the same or similar circumstances) in its handling, use, or disposal of TCE at

the Joplin plant?

____Yes ____No



2. Has Plaintiff Jodelle L. Kirk proven by a preponderance of the evidence that FAG Bearings

violated a specific legal requirement, as described in instruction ____?

____Yes ____No




If you answered yes to questions 1 or 2 proceed to answer question 3. If you did not answer
yes to any of those questions, stop here, answer no further questions, and have the
presiding juror sign and date this form.




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3. Has Plaintiff Jodelle L. Kirk proven by a preponderance of the evidence that FAG Bearings

directly caused her autoimmune hepatitis, meaning that:

           a) Plaintiff Jodelle L. Kirk was exposed to TCE in an amount significant enough to

              cause her autoimmune hepatitis; and

           b) There is a demonstrable relationship between TCE exposure and human autoimmune

              hepatitis (i.e., that exposure to TCE can cause autoimmune hepatitis in humans); and

           c) Plaintiff Jodelle L. Kirk has been diagnosed with autoimmune hepatitis; and

           d) Plaintiff Jodelle L. Kirk’s autoimmune hepatitis is consistent with exposure to TCE;

              and

           e) FAG Bearings was responsible for the TCE alleged to have caused the autoimmune

              hepatitis diagnosed in Plaintiff Jodelle L. Kirk?

____Yes ____No


If you answered yes to question 3, answer question 4. If you answered no to question 4,
stop here, answer no further questions, and have the presiding juror sign and date this
form.


4. What amount of money will fairly and justly compensate Plaintiff Jodelle L. Kirk for

damages you believe she sustained and is reasonably certain to sustain in the future as a result of

her exposure to TCE?

$____________________________ (state the amount)




           ________________________________________                  ___________________
              SIGNATURE OF JURY FOREPERSON                                 DATE




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                              SOUTHWESTERN DIVISION

JODELLE L. KIRK                                 )
                                                )
                       Plaintiff,               )
                                                )
v.                                              )      Case No: 3:13-cv-05032-DGK
                                                )
SCHAEFFLER GROUP USA, INC., et al.,             )
                                                )
                       Defendants.              )

            DEFENDANTS’ PROPOSED PUNITIVE DAMAGES VERDICT FORM

1. Has Plaintiff Jodelle L. Kirk clearly and convincingly established that Defendants’ conduct

showed complete indifference or conscious disregard for the safety of others?

____Yes ____No


If your answer to question 1 is no, stop here, answer no further questions, and have the
presiding juror sign and date this form. If you answered yes, answer question 2.


2. What amount of money do you award in punitive damages?

$____________________________ (state the amount)



           ________________________________________               ___________________
              SIGNATURE OF JURY FOREPERSON                              DATE




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Date: February 16, 2016                 Respectfully submitted,

                                        DENTONS US LLP

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                                        BEARINGS, LLC




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                                   CERTIFICATE OF SERVICE

           I hereby certify that on the 16th day of February 2016, a true and accurate copy of the

foregoing document was served upon the following counsel by the Court’s CM/ECF system:


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                                                 /s/ Gregory T. Wolf
                                                 ATTORNEY FOR DEFENDANTS
                                                 SCHAEFFLER GROUP USA, INC. AND
                                                 FAG BEARINGS, LLC




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